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                    12

                    13                                   UNITED STATES DISTRICT COURT

                    14                                NORTHERN DISTRICT OF CALIFORNIA

                    15

                    16   LAWRENCE WAYNE KELLY JR., an                    Case No. 3:22-cv-05263
                         individual,
                    17                                                   DEFENDANT ARAMARK SERVICES,
                                                  Plaintiff,             INC.’S NOTICE OF REMOVAL
                    18
                                            vs.                          [28 U.S.C. §§ 1332(A), 1441, 1446]
                    19
                         ARAMARK SERVICES, INC., a California
                    20   Corporation; DOE 1, an individual; and DOES
                         2 through 50, inclusive,
                    21
                                                  Defendants.
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 ATTORNEYS AT LAW
  SAN FRANCISCO                                                                                   NOTICE OF REMOVAL
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                     1   TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

                     2   CALIFORNIA, AND TO PLAINTIFF LAWRENCE WAYNE KELLY JR. AND HIS

                     3   ATTORNEYS OF RECORD:

                     4            PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. §§ 1332(a), 1441, and 1446,

                     5   Defendant Aramark Services, Inc. (“Defendant” or “Aramark”) hereby removes the above-

                     6   entitled action from the Superior Court of the State of California for the County of Alameda to the

                     7   United States District Court for the Northern District of California. This Court has original

                     8   subject matter jurisdiction over the claims of Plaintiff Lawrence Wayne Kelly Jr. (“Plaintiff” or

                     9   “Kelly”) under 28 U.S.C. § 1332(a), because the amount in controversy exceeds $75,000 and
                    10   there is complete diversity of citizenship between the parties.

                    11            In support of this removal, Aramark states the following:

                    12   I.       PLEADINGS, PROCESS, AND ORDERS

                    13            1.        On August 12, 2022, Plaintiff filed an unverified complaint for damages in the

                    14   Superior Court of the State of California, for the County of Alameda, entitled Lawrence Wayne

                    15   Kelly Jr. v. Aramark Services, Inc., Case No. 22CV016120 (the “Complaint”). The Complaint

                    16   alleges five causes of action: (1) Age Discrimination (Gov. Code § 12940, et. seq.); (2) Failure to

                    17   Prevent Discrimination and Harassment (Gov. Code § 12940(k)); (3) Wrongful Termination in

                    18   Violation of Public Policy; (4) Intentional Infliction of Emotional Distress; (5) Unfair

                    19   Competition (Bus. & Prof. Code § 17200, et. seq.).
                    20            2.        On August 16, 2022, Plaintiff served a document titled “First Amended

                    21   Complaint” (“FAC”) on Defendant.1 True and correct copies of the Summons, First Amended

                    22   Complaint, the original filed Complaint, and all documents served with the FAC are attached as

                    23   Exhibit A.

                    24            3.        On September 14, 2022, Defendant filed and served its Answer to the Plaintiff’s

                    25   Complaint. A true and correct copy of the Answer to the Complaint is attached as Exhibit B.

                    26            4.        Exhibits A and B constitute all the pleadings, process, and orders served upon or

                    27   1
                              Despite serving a putative First Amended Complaint, as of September 15, 2022, Plaintiff’s First Amended
                              Complaint does not appear on the court’s docket for this case. Plaintiff’s FAC and Complaint appear to be
                    28        identical.
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                     1   by Defendant in the Superior Court action.

                     2   II.      REMOVAL IS TIMELY

                     3            5.        This Notice of Removal is filed timely, pursuant to 28 U.S.C. § 1446(b), because

                     4   Defendant filed it within thirty days of completion of service on Defendant. No previous Notice

                     5   of Removal has been filed or made with this Court for the relief sought herein.

                     6   III.     DIVERSITY JURISDICTION EXISTS

                     7            6.        This action is a civil action over which this Court has original diversity jurisdiction

                     8   pursuant to 28 U.S.C. § 1332. Removal to this Court is proper under the provisions of 28 U.S.C.

                     9   §§ 1441(a) and (b) because the action involves citizens of different states the amount in
                    10   controversy exceeds $75,000.

                    11            A.        Complete Diversity of Citizenship Exists Between the Parties.

                    12            7.        A case may be heard in federal court under diversity jurisdiction if there is

                    13   complete diversity, i.e., all plaintiffs are diverse from all defendants. 28 U.S.C. § 1332(a). A

                    14   defendant may remove an action to federal court under 28 U.S.C. § 1332 provided no defendant is

                    15   a citizen of the same state in which the action was brought. 28 U.S.C. § 1441(a)–(b). The

                    16   citizenship of improperly and fraudulently joined defendants should be disregarded for removal

                    17   purposes. McCabe v. Gen. Food Corp., 811 F.2d 1336, 1339 (9th Cir. 1987). Here, all

                    18   requirements are met because Plaintiff is a citizen of California and Defendant is a citizen of

                    19   Delaware and Pennsylvania.
                    20                      1.     Plaintiff Is a Citizen of California.

                    21            8.        “An individual is a citizen of the state in which he is domiciled . . . .” Boon v.

                    22   Allstate Ins. Co., 229 F. Supp. 2d 1016, 1019 (C.D. Cal. 2002) (citing Kanter v. Warner-Lambert

                    23   Co., 265 F.3d 853, 857 (9th Cir. 2001)). For purposes of diversity jurisdiction, citizenship is

                    24   determined by the individual’s domicile at the time the lawsuit is filed. Lew v. Moss, 797 F.2d

                    25   747, 750 (9th Cir. 1986). Evidence of continuing residence creates a presumption of domicile.

                    26   Washington v. Hovensa LLC, 652 F.3d 340, 345 (3rd Cir. 2011); State Farm Mut. Auto. Ins. Co.

                    27   v. Dyer, 19 F.3d 514, 519 (10th Cir. 1994). Once the removing party produces evidence

                    28   supporting that presumption, the burden shifts to the other party to come forward with contrary
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                     1   evidence, if any, in order to dispute domicile. Id.

                     2            9.        At the time Plaintiff filed this civil action, Plaintiff was a citizen of the State of

                     3   California. Exh. A, Complaint at ¶ 6. Plaintiff was employed by Aramark in California from

                     4   around 1988 to 2020. Id. at ¶¶ 6, 14, 17. Nothing in Plaintiff’s Complaint suggest that he is now,

                     5   or has been a citizen of the state of Pennsylvania or Delaware.

                     6                      2.      Defendant Is a Citizen of Pennsylvania and Delaware, Not California.

                     7            10.       For diversity purposes, a corporation is deemed to be a citizen of any state in which it

                     8   has been incorporated and of any state where it has its principal place of business. 28 U.S.C.

                     9   § 1332(c)(1). The “principal place of business” for the purpose of determining diversity subject
                    10   matter jurisdiction refers to “the place where a corporation’s officers direct, control, and coordinate

                    11   the corporation’s activities . . . [I]n practice it should normally be the place where the corporation

                    12   maintains its headquarters—provided that the headquarters is the actual center of direction, control,

                    13   and coordination, i.e., the ‘nerve center,’ and not simply an office where the corporation holds its

                    14   board meetings . . . .” See Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010).

                    15            11.       Defendant is now and, prior to and after the commencement of this action on August

                    16   12, 2022, has been a corporation organized and existing under and by virtue of the laws of Delaware.

                    17   Currently and prior to and since the commencement of this action, the Company has had its corporate

                    18   headquarters and principal place of business in Philadelphia, Pennsylvania. Philadelphia,

                    19   Pennsylvania is where direction, control, and coordination for the Company and executive functions
                    20   take place. The greater part of the Company’s administrative functions (including corporate human

                    21   resources, payroll, benefits, Information Technology, corporate finance, production operations, and

                    22   business strategy) are conducted in Philadelphia, Pennsylvania, and the respective managers for these

                    23   departments work in Philadelphia, Pennsylvania. As such, corporate policies, including those

                    24   concerning discrimination, harassment and retaliation, and recordkeeping related to hours worked and

                    25   pay have been established by the Company’s leaders based in Philadelphia.

                    26            12.       Defendant is therefore a citizen of the State of Delaware and the Commonwealth of

                    27   Pennsylvania for purposes of determining diversity jurisdiction. 28 U.S.C. § 1332(c)(1). As a result,

                    28   Defendant is not now, and was not at the time of the filing of the Complaint, a citizen and/or resident
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                     1   of the State of California for purposes of determining diversity jurisdiction.

                     2            13.       In compliance with 28 U.S.C. § 1441(b), none of the “parties in interest properly

                     3   joined and served as defendants is a citizen of the State in which [this] action is brought.” The

                     4   inclusion of “Doe” Defendants in Plaintiff’s state court complaint has no effect on removability.

                     5   Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-91 (9th Cir. 1998); 28 U.S.C. § 1441(a) (stating

                     6   that for purposes of removal, the citizenship of Defendant sued under fictitious names shall be

                     7   disregarded). In determining whether diversity of citizenship exists, only the named defendants are

                     8   considered.

                     9            14.       Based on the foregoing, complete diversity exists because Plaintiff is a citizen of
                    10   California and Defendant is a citizen of Delaware and Pennsylvania.

                    11            B.        The Amount Plaintiff Places in Controversy Exceeds $75,000.

                    12            15.       Although the Complaint does not allege any amount of damages as to any of his

                    13   claims, removal is proper if, from the allegations of the Complaint and the Notice of Removal, it is

                    14   more likely than not that the amount in controversy exceeds $75,000. Sanchez v. Monumental Life

                    15   Ins. Co., 102 F.3d 398, 403-04 (9th Cir. 1996).

                    16            16.       Defendant is informed that the amount in controversy exceeds the sum or value of

                    17   $75,000, exclusive of interests and costs. Plaintiff alleges in his Complaint that Defendant terminated

                    18   his employment based on his age. Plaintiff seeks to recover “compensatory damages . . . including

                    19   but not limited to back pay, front pay, loss of earnings and employee benefits and damages for
                    20   emotional distress . . .;” “restitution for unfair competition . . . including disgorgement of profits”;

                    21   “general and special damages”; “pre-judgment and post-judgment interest”; “punitive and exemplary

                    22   damages”; “attorneys’ fees”; “costs of suit”; and “other relief the court may deem just and proper.”

                    23   Exh. A, Complaint, ¶¶ 57-64. Were Plaintiff to prevail in this action, the damages could exceed

                    24   $75,000.

                    25                      1.      Plaintiff’s Claim for Loss of Earnings Places at Least $212,588.80 in

                    26                              Controversy.

                    27            17.       At the time of his termination, Plaintiff received an hourly pay rate of $22.52.

                    28   Declaration of Bryan Mohseni in Support of Defendant’s Notice of Removal, ¶ 3. Not counting
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                     1   overtime or other pay, this comes out to $3,603.20 per month. Defendant terminated Plaintiff’s

                     2   employment on February 13, 2020. Exh. A, Complaint at ¶ 17. A jury trial in this case likely

                     3   would not occur for over two years from the date of removal. See United States District Courts –

                     4   National Judicial Caseload Profile for the Northern District of California,

                     5   https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0630.2020.pdf

                     6   (reflecting a median time of approximately 29.3 months from filing date to trial date in civil cases

                     7   in the Northern District of California). Twenty-nine months from August 12, 2022—the date

                     8   Plaintiff filed his Complaint—is January 12, 2025 giving a total amount of time between his

                     9   termination and trial of approximately 59 months.
                    10            18.       At the time of trial, Plaintiff’s lost wages claim would be approximately

                    11   $212,588.80 ($3,603.20 x 59). See, e.g., Melendez v. HMS Host Family Rest., Inc., No. CV 11-

                    12   3842, 2011 WL 3760058, at *2 (C.D. Cal. Aug. 25, 2011) (including projected lost wages from

                    13   alleged adverse employment action to anticipated date of judgment in amount in controversy

                    14   calculation); Rivera v. Costco Wholesale Corp., No. C 08-02202, 2008 WL 2740399, at *3 (N.D.

                    15   Cal. July 11, 2008) (considering “lost wages and benefits [that] may accrue” after removal);

                    16   Celestino v. Renal Advantage Inc., No. C 06-07788, 2007 WL 1223699, at *4 (N.D. Cal. Apr. 24,

                    17   2007) (including future lost income in amount in controversy calculation).

                    18            19.       In the alternative, if Plaintiff’s lost wages is limited to the time between Plaintiff’s

                    19   termination and when Plaintiff filed his original Complaint on August 12, 2022, Plaintiff’s lost
                    20   wages claim would be approximately $190,969.60 ($3,603.20 x 53).

                    21                      2.      Plaintiff Alleges Emotional Distress Damages

                    22            20.       Plaintiff also alleges emotional distress damages. See, e.g., Exh. A, Complaint, ¶¶

                    23   29, 36, 43, 46, 57. In determining whether the jurisdictional minimum is met, courts consider all

                    24   recoverable damages, including emotional distress damages. Hunt v. Wash. State Apple Advert.

                    25   Comm’n, 432 U.S. 333, 347-48 (1977), superseded by statute on other grounds; Galt G/S v. JSS

                    26   Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998). Indeed, numerous California Courts have

                    27   awarded more than $75,000 in emotional distress damages alone. See, e.g., Keiffer v. Bechtel

                    28   Corp., 65 Cal. App. 4th 893, 895 (1998) (California Court of Appeal upheld jury award in excess
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                     1   of $75,000.00 for emotional distress damages); Satrap v. Pac. Gas & Elec. Co., 42 Cal. App. 4th

                     2   72, 76 (1996) (jury award in excess of $75,000.00 in non-economic damages was upheld).

                     3   Accordingly, it is reasonable to assume that Plaintiff seeks in excess of $75,000 for alleged

                     4   emotional distress damages alone.

                     5                      3.     Plaintiff’s Claim for Punitive Damages Places Additional Amounts in

                     6                             Controversy.

                     7            21.       Plaintiff also requests an unspecified amount in punitive damages related to every

                     8   claim. See Exh. A, Complaint, ¶¶ 30, 38, 43, 47, 61. Plaintiff’s claims for punitive damages are

                     9   part of the amount in controversy when determining diversity jurisdiction. Gibson v. Chrysler
                    10   Corp., 261 F.3d 927, 945 (9th Cir. 2001). California juries have returned verdicts with substantial

                    11   punitive damage awards in employment discrimination actions. See Simmons v. PCR Tech., 209

                    12   F. Supp. 2d 1029, 1033 (N.D. Cal. 2002) (“the jury verdicts in these cases amply demonstrate the

                    13   potential for large punitive damage awards in employment discrimination cases”); Ko v. The

                    14   Square Group, LLC, Case No. BC 487739, 2014 WL 3555573 (Cal. Super. Ct. June 17, 2014)

                    15   (disability discrimination case resulting in punitive damages award of $500,000); see also Aucina

                    16   v. Amoco Oil Co., 871 F. Supp. 332, 334 (S.D. Iowa 1994) (“Because the purpose of punitive

                    17   damages is to capture a defendant’s attention and deter others from similar conduct, it is apparent

                    18   plaintiff’s claim for punitive damages alone might exceed [the jurisdictional amount].”). Thus,

                    19   Plaintiff’s claim for punitive damages places an even greater amount in controversy.
                    20            22.       Plaintiff also seeks to recover an unspecified amount of attorneys’ fees. Exh. A.,

                    21   Complaint ¶ 62. Courts have held that an award of attorneys’ fees, if such fees are authorized, may

                    22   be considered for purposes of calculating the amount in controversy. See, e.g., Galt G/S, 142 F.3d at

                    23   1155-56 (9th Cir. 1998) (“We hold that where an underlying statute authorizes an award of attorneys’

                    24   fees, either with mandatory or discretionary language, such fees may be included in the amount in

                    25   controversy.”); Guglielmino v. McKee Foods Corp., 506 F.3d 696, 697-98 (9th Cir. 2007) (attorneys’

                    26   fees are included in the calculation of the amount in controversy under 28 U.S.C. § 1332(a)); Sanchez

                    27   v. Wal-Mart Stores, Inc., No. S-06-cv-2573, 2007 WL 1345706, at *2 (E.D. Cal. May 8, 2007)

                    28   (“Attorney’s fees, if authorized by statute or contract, are also part of the calculation”). The total
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                     1   amount of attorneys’ fees that could accrue during the course of litigation are considered. Lippold v.

                     2   Godiva Chocolatier, Inc., No. C 10–00421, 2010 WL 1526441, at *3–4 (N.D. Cal. Apr. 15, 2010) (“a

                     3   reasonable estimate of attorneys fees likely to be expended” should be included in calculating the

                     4   amount in controversy); accord Pulera v. F & B, Inc., No. 2:08-cv-00275 – MCEDAD, 2008WL

                     5   3863489, at *4–5 (E.D. Cal. Aug. 19, 2008); Celestino, 2007 WL 1223699 at *4; Simmons, 209 F.

                     6   Supp. 2d at 1034–35 (N.D. Cal.2002); Brady v. Mercedes-Benz, 243 F. Supp. 2d 1004, 1010–11

                     7   (N.D. Cal. Jan. 12, 2002).

                     8            23.       Here, Plaintiff brings claims under the Fair Employment and Housing Act, which

                     9   allows a “prevailing party” to recover reasonable attorneys’ fees. Cal. Gov. Code § 12965(b) (“[T]he
                    10   court, in its discretion, may award to the prevailing party . . . reasonable attorney’s fees and costs,

                    11   including expert witness fees”); Simmons, 209 F. Supp. 2d at 1035 (“The court notes that in its

                    12   twenty-plus years’ experience, attorneys’ fees in individual discrimination cases often exceed the

                    13   damages.”).

                    14            24.       Notably, Plaintiff’s counsel, Shaun Setareh, has filed fee motions that report his

                    15   hourly rate at $750 to $850 and his associates’ hourly rates at $350 to $700. Request for Judicial

                    16   Notice, Exs. A-C. Conservatively assuming that Mr. Setareh’s associates perform 75% of the work,

                    17   attorneys’ fees would total $75,000 after 132 hours of work (($525 average associate rate x 108

                    18   hours) + ($800 average Setareh hourly rate x 24 hours) = $75,900). Plaintiff’s counsel would likely

                    19   exceed this amount during just the pretrial phase of litigation.
                    20            25.       Thus, the amount of attorneys’ fees incurred by Plaintiff in connection with

                    21   prosecuting the instant action would increase the above figures even more, and, when combined with

                    22   the other damages, exceed the jurisdictional threshold of this Court.

                    23            26.       While Defendant denies any and all liability to Plaintiff, based on a conservative, good

                    24   faith estimate of the value of the alleged damages in this action (lost wages, emotional distress,

                    25   punitive damages, and attorneys’ fees), the amount in controversy in this case well exceeds $75,000,

                    26   exclusive of interest and costs. See Singer v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 376–77

                    27   (9th Cir. 1997) (holding that where a complaint does not allege a specific dollar amount, the case is

                    28   removable if the removing defendant shows by a preponderance of the evidence that the jurisdictional
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                     1   amount is present); see also Simmons, 209 F. Supp. 2d at 1031–35 (holding that Plaintiff’s damage

                     2   claim, including lost wages, medical expenses, emotional distress and attorneys’ fees, was enough to

                     3   put the amount in controversy above $75,000).

                     4   IV.      THE OTHER PREREQUISITES FOR REMOVAL HAVE BEEN SATISFIED

                     5            27.       Venue is proper in the Northern District of California pursuant to 28 U.S.C. § 1441(a)

                     6   because this district embraces the county—Alameda—in which the removed action has been pending.

                     7            28.       Defendant will promptly serve Plaintiff with this Notice of Removal and will

                     8   promptly file a copy of this Notice of Removal with the clerk of the state court in which the action is

                     9   pending, as required under 28 U.S.C. § 1446(d).
                    10   V.       CONCLUSION

                    11            29.       Defendant respectfully requests that this action be removed from the Superior Court of

                    12   the State of California for the County of Alameda to the United States District Court for the Northern

                    13   District of California, and that all future proceedings in this matter take place in the United States

                    14   District Court for the Northern District of California.

                    15            30.       If any question arises as to the propriety of the removal of this action, Defendant

                    16   requests the opportunity to present a brief and oral argument in support of their position that this case

                    17   is removable.

                    18
                         Dated: September 15, 2022                                  MORGAN, LEWIS & BOCKIUS LLP
                    19
                    20
                                                                                    By    /s/Eric Meckley
                    21                                                                   Eric Meckley
                                                                                         Sarah Zenewicz
                    22                                                                   Claire Lesikar
                                                                                         Attorneys for Defendant
                    23                                                                   ARAMARK SERVICES, INC.
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                    10
                         Attorneys for Defendant
                    11   ARAMARK SERVICES, INC.

                    12

                    13                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

                    14                                           COUNTY OF ALAMEDA

                    15

                    16   LAWRENCE WAYNE KELLY JR., an                         Case No. 22CV016120
                         individual,
                    17                                                        DEFENDANT ARAMARK SERVICES,
                                                   Plaintiff,                 INC.’S ANSWER TO COMPLAINT
                    18                                                        FOR DAMAGES
                                            vs.
                    19                                                        Complaint Filed: August 12, 2022
                         ARAMARK SERVICES, INC., a California
                    20   Corporation; DOE 1, an individual; and DOES
                         2 through 50, inclusive,
                    21
                                                   Defendants.
                    22

                    23
                                  Defendant ARAMARK SERVICES, INC. (“Defendant”) by and through its undersigned
                    24
                         counsel, hereby answers the Complaint (“Complaint”) filed by Plaintiff LAWRENCE WAYNE
                    25
                         KELLY JR. (“Plaintiff”) as follows:
                    26
                                                                  GENERAL DENIAL
                    27
                                  Pursuant to California Code of Civil Procedure Section 431.30(d), Defendant denies,
                    28
                         generally and specifically, each and every allegation in the unverified Complaint. Defendant
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 BOCKIUS LLP
 ATTORNEYS AT LAW
  SAN FRANCISCO
                         DB1/ 132406843.1                 DEFENDANT’S ANSWER TO COMPLAINT
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                     1   further generally and specifically denies that Plaintiff has been damaged in the sums alleged, or

                     2   any other sum, or at all, by reason of any act or omission on the part of Defendant or any of its

                     3   agents, servants, employees, or representatives. Defendant further denies, generally and

                     4   specifically, that Plaintiff is entitled to general, compensatory, punitive, or other damages, in any

                     5   amount by reason of any act or omission on the part of Defendant or on the part of its agents,

                     6   servants, employees, or representatives.

                     7                                         AFFIRMATIVE DEFENSES

                     8            Defendant has not completed its investigation of the facts of this case, has not completed

                     9   discovery in this matter, and has not completed its preparation for trial. The defenses asserted

                    10   herein are based on Defendant’s knowledge, information, and belief at this time. Defendant

                    11   specifically reserves the right to modify, amend, or supplement any defense contained herein at

                    12   any time. Without conceding that it bears the burden of proof or persuasion as to any one of

                    13   them, Defendant alleges the following separate defenses to the Complaint:

                    14                                      FIRST AFFIRMATIVE DEFENSE

                    15                                      (Failure to State a Cause of Action)

                    16            1.        Plaintiff’s Complaint, and each claim contained therein, fails to state facts sufficient

                    17   to constitute any cause of action or to set forth a claim upon which relief can be granted.

                    18                                    SECOND AFFIRMATIVE DEFENSE

                    19                                         (Failure to Mitigate Damages)

                    20            2.        If Plaintiff sustained any damages by reason of the allegations in the Complaint, which

                    21   are categorically denied by Defendant, then Plaintiff may not recover for any such damages because,

                    22   by his own acts and/or omissions, Plaintiff has failed to timely and properly to mitigate those

                    23   damages.

                    24                                     THIRD AFFIRMATIVE DEFENSE

                    25                                                (Unclean Hands)

                    26            3.        Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands.

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                     1                                    FOURTH AFFIRMATIVE DEFENSE

                     2                                  (No Basis for Award of Punitive Damages)

                     3            4.        Plaintiff’s allegations of each cause of action, whether considered separately or in any

                     4   combination, fail to state facts sufficient to support an award of punitive damages against Defendant.

                     5                                      FIFTH AFFIRMATIVE DEFENSE

                     6                                     (Punitive Damages Unconstitutional)

                     7            5.        An award of punitive damages is an unconstitutional denial of Defendant’s right to

                     8   due process and/or equal protection under the Fifth and Fourteenth Amendments to the United States

                     9   Constitution, the excessive fines clause of the Eighth Amendment to the United States Constitution,

                    10   and corresponding provisions of the Constitution of the State of California, including Articles I and

                    11   IV.

                    12                                      SIXTH AFFIRMATIVE DEFENSE

                    13                                                     (Offset)

                    14            6.        Even if the applicable Workers’ Compensation laws do not provide the exclusive

                    15   remedy for Plaintiff’s claims, Defendant is entitled to an offset of any benefits Plaintiff receives or

                    16   has received from workers’ compensation or any employee benefit plan for injuries or damages

                    17   alleged in his Complaint against any award of damages to Plaintiff in this action, consistent with the

                    18   common law doctrine of offset and the doctrine prohibiting double recovery set forth under Witt v.

                    19   Jackson, 57 Cal. 2d 57 (1961) and its progeny.

                    20                                   SEVENTH AFFIRMATIVE DEFENSE

                    21                                  (Legitimate, Non-Discriminatory Reasons)

                    22            7.        Any and all employment actions taken with respect to Plaintiff were not based on age,

                    23   involvement in any protected activity, or any other improper or illegal consideration, but rather based

                    24   on one or more legitimate, non-discriminatory and non-retaliatory reasons.

                    25                                    EIGHTH AFFIRMATIVE DEFENSE

                    26                                             (Statute of Limitations)

                    27            8.        Plaintiff’s claims are barred, in whole or in part, and/or such claims of some of the

                    28   putative class and/or representative action members that Plaintiff seeks to represent are barred in
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                     1   whole or in part by the applicable statutes of limitations, including but not limited to Cal. Civ. Proc.

                     2   Code § 335.1.

                     3                                     NINTH AFFIRMATIVE DEFENSE

                     4                                (Workers’ Compensation Exclusive Remedy)

                     5            9.        To the extent Plaintiff seeks recovery for alleged physical and/or emotional injury

                     6   based on alleged employment or termination related conduct which neither contravenes fundamental

                     7   California public policy nor exceeds the risks inherent in the employment relationship (nor violates a

                     8   California statute providing recovery for emotional distress), such recovery is barred by California

                     9   Labor Code sections 3601 and 3602, which provide that the exclusive remedy for these alleged

                    10   injuries is an action or a claim under the Workers’ Compensation Act.

                    11                                                     Prayer

                    12            WHEREFORE, Defendant prays for judgment as follows:

                    13            1.        That Plaintiff takes nothing by reason of the Complaint on file herein, and that the

                    14   same be dismissed;

                    15            2.        That judgment be entered in favor of Defendant and against Plaintiff;

                    16            3.        That Defendant be awarded its costs of suit;

                    17            4.        That Defendant be awarded its attorneys’ fees according to proof; and

                    18            5.        That the Court award Defendant such other and further relief as the Court may

                    19   deem proper.

                    20

                    21   Dated: September 14, 2022                                MORGAN, LEWIS & BOCKIUS LLP

                    22

                    23                                                            By
                                                                                       Eric Meckley
                    24                                                                 Sarah Zenewicz
                                                                                       Claire Lesikar
                    25                                                                 Attorneys for Defendant
                                                                                       ARAMARK SERVICES, INC.
                    26

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                     1                                         PROOF OF SERVICE

                     2          I, Joseph Ding, declare:

                     3          I am a citizen of the United States and employed in Santa Clara County, California. I am
                         over the age of eighteen years and not a party to the within entitled action. My business address
                     4   is 1400 Page Mill Road, Palo Alto, CA 94304. On September 14, 2022, I served a copy of the
                         within document(s):
                     5
                                        DEFENDANT ARAMARK SERVICES, INC.’S ANSWER TO
                     6                  COMPLAINT FOR DAMAGES

                     7

                     8
                                      by placing the document(s) listed above in a sealed envelope with postage thereon
                                        fully prepaid, the United States mail at Palo Alto, California addressed as set forth
                                        below.
                     9

                    10   Shaun Setareh                                       Attorneys for Plaintiff
                         Jose Maria D. Patino, Jr.                           Lawrence Wayne Kelly Jr.,
                    11   Maxim Gorbunov
                         SETAREH LAW GROUP
                    12   9665 Wilshire Boulevard, Suite 430
                         Beverly Hills, California 90212
                    13   shaun@setarehlaw.com
                    14   jose@setarehlaw.com
                         maxim@setarehlaw.com
                    15

                    16
                                Executed on September 14, 2022, at Palo Alto, California.
                    17
                                  I declare under penalty of perjury under the laws of the State of California that the above
                    18   is true and correct.

                    19

                    20
                                                                                            Joseph Ding
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
  SILICON VALLEY
                                                                  PROOF OF SERVICE
